         Case 2:18-cr-00292-RJC Document 1637 Filed 08/09/24 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                             )
                                                     )
            v.                                       )      Criminal No. 18-292
                                                     )
ROBERT BOWERS                                        )
     Defendant-Appellant                             )


    DEFENDANT-APPELLANT’S RESPONSE TO THE UNITED STATES’S NOTICE OF
            POSITION REGARDING DOCUMENTS TO BE UNSEALED

        In response to this Court’s Order at Doc. No. 1634, Defendant-Appellant Robert Bowers,

through undersigned counsel, hereby notifies the Court that he has reviewed the list of

documents that the Court intends to unseal by agreement of the parties—set forth in paragraph

one of Doc. No. 1634—and he has no objection to the unsealing of those documents.

        Regarding the government’s Notice of Position Regarding Documents to be Unsealed,

Doc. No. 1635, Mr. Bowers does not object at this time to the government’s proposed redaction

of Doc. No. 1504, with the caveat that his position on that issue may change after his counsel has

had an opportunity to review the record on appeal.

.

                                             Respectfully submitted,

                                             ROBERT BOWERS

                                             by his attorneys:

                                             s/ Sean J. Bolser, Esq.
                                             Federal Capital Appellate Resource Counsel Project
                                             Federal Defenders of New York
                                             One Pierrepont Plaza, 16th Floor
                                             Brooklyn, NY 11201
                                             718-330-1200
                                             sean_bolser@fd.org

                                                1
    Case 2:18-cr-00292-RJC Document 1637 Filed 08/09/24 Page 2 of 2




                                s/ Sarah S. Gannett, Esq.
                                Assistant Federal Public Defender
                                Office of the Federal Public Defender
                                850 W Adams Street
                                Suite 201
                                Phoenix, AZ 85007
                                602-382-2700
                                sarah_gannett@fd.org

                                /s Margaret Farrand, Esq.
                                Deputy Federal Public Defender
                                Office of Federal Public Defender
                                Central District of California
                                321 E 2nd Street
                                Los Angeles, CA 90012
                                213-894-7528
                                margaret_farrand@fd.org




.




                                   2
